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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

ESROM DEMEKE                                                        CIVIL ACTION

VERSUS                                                              NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                            ORDER

       A scheduling conference was held on August 8, 2019.

       PRESENT:        Esrom Demeke
                       Plaintiff

                       Sheri M. Morris
                       Counsel for Defendants

       The parties discussed the status of this matter. The Court noted that although Plaintiff

was granted leave to amend his complaint (R. Doc. 15), he has not yet done so. Plaintiff

informed the Court that he only intends to modify the relief sought. The Court also noted that

there remain multiple pending motions to dismiss pursuant to Rule 12(b)(6). Those motions

raise, among other things, assertions of absolute and qualified immunity. All parties agreed that

it was appropriate to wait for rulings on those motions before commencing discovery and initial

disclosures. Plaintiff’s motion for an extension of time to file an opposition remains pending,

and plaintiff’s opposition was filed on August 5, 2019. Counsel for the defendant indicated that

there was no objection to considering this opposition as timely filed. Therefore, the Motion for

Extension of Time (R. Doc. 22) is GRANTED and the Memorandum in Opposition (R. Doc. 23)

is considered timely filed.




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        Should the pending Rule 12 motions be ruled upon, the parties shall immediately contact

the undersigned for appropriate action. The Court informed the parties that it was premature to

issue a formal scheduling order at this time. Accordingly, the following deadlines are set at this

time:

        1. Plaintiff shall file an Amended Complaint on or before August 15, 2019.

        2. Defendants may file a Reply to Plaintiff’s Opposition (R. Doc. 23) on or before

           August 29, 2019.

        3. A telephone conference is set for Wednesday, September 18, 2019 at 9:00 a.m.

           Counsel for the the defendants shall initiate the call to chambers or circulate call in

           information.

        Should the parties desire a settlement conference with the undersigned, they are directed

to contact chambers at (225) 389-3602.

        Signed in Baton Rouge, Louisiana, on August 8, 2019.



                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE




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